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         In the United States Court of Federal Claims
                                          No. 23-2047 C
                                       Filed: April 16, 2024

*************************************
ASSOCIATED ENERGY GROUP,            *
LLC,                                *
            Plaintiff,              *
                                    *
        v.                          *                               JUDGMENT
                                    *
 THE UNITED STATES,                 *
             Defendant,             *
                                    *
        and                         *
                                    *
KROPP HOLDINGS, INC.,               *
             Defendant-Intervenor.  *
*************************************

       Pursuant to the court’s Order, filed April 15, 2024, granting defendant’s and defendant-
intervenor’s motions to dismiss,

      IT IS ORDERED AND ADJUDGED this date, pursuant to Rule 58, that the plaintiff’s
complaint is dismissed.



                                                                    Lisa L. Reyes
                                                                    Clerk of Court

                                                            By:     s/ Ashley Reams
                                                                    Deputy Clerk




 NOTE: As to appeal to the United States Court of Appeals for the Federal Circuit, 60 days from
 this date, see RCFC 58.1, re number of copies and listing of all plaintiffs. Effective December 1,
 2023, the appeals fee is $605.00.
